           Case 5:12-cv-00892-M Document 11 Filed 10/12/12 Page 1 of 6



                IN THE UNITED STATES DISTRICT COURT FOR THE

         WESTERN DISTRICT OF OKLAHOMA DISTRICT OF OKLAHOMA

WALTER T. LACEY, JR.,                             )
                                                  )
               Plaintiff,                         )
vs.                                               )       Case No. 5:12-cv-00892-M
                                                  )
HOMEOWNERS OF AMERICA                             )
INSURANCE COMPANY,                                )
                                                  )
               Defendant.                         )


      DEFENDANT HOMEOWNERS OF AMERICA INSURANCE COMPANY’S
              MOTION TO DISMISS AND BRIEF IN SUPPORT

        Defendant, Homeowners of America Insurance Company (“HOAIC”), pursuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure, hereby moves to dismiss Plaintiff’s

Complaint on the grounds that Plaintiff has failed to state a claim upon which relief can be

granted. In support of this motion, Defendant submits the following brief.

                                    BRIEF IN SUPPORT

        Rule 8 of the Federal Rule of Civil Procedure sets forth the general rules of pleading,

and provides in pertinent part as follows:

        A pleading that states a claim for relief must contain:
        (1) a short and plain statement of the grounds for the court’s jurisdiction...;
        (2) a short and plain statement of the claim showing that the pleader is entitled
        to relief; and
        (3) a demand for the relief sought, which may include relief in the alternative
        or different types of relief.

Fed. R. Civ. Pro. 8(a). Rule 8 demands that a complaint contain “more than an un-adorned,

the-defendant-unlawfully-harmed-me accusation” or mere labels, conclusions or “naked
           Case 5:12-cv-00892-M Document 11 Filed 10/12/12 Page 2 of 6



assertions devoid of further factual enhancement.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) and Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555-63 (2007).

       In deciding a motion to dismiss under Rule 12(b)(6), the court “must accept all the

well-pleaded allegations of the complaint as true and must construe them in the light most

favorable to the plaintiff.” Alvarado v. KPB-TV, L.L.C., 493 F.3d 1210, 1215 (10 th Cir.

2007). The court is to look for “plausibility” in the complaint. Id. “The mere metaphysical

possibility that some plaintiff could prove some set of facts in support of the pleaded claims

is insufficient; the complaint must give the court reason to believe that this plaintiff has a

reasonable liklihood of mustering factual support for these claims.” Robbins v. Oklahoma,

519 F.3d 1242, 1247 (10th Cir. 2008) (quoting Ridge at Red Hawk, L.L.C. v. Schneider, 493

F.3d 1174, 1177 (10th Cir. 2007)). “The burden is on the plaintiff to frame a complaint with

enough factual matter (taken as true) to suggest that he or she is entitled to relief,” and such

factual matter must be enough to raise the right to relief above the speculative level. Id.

       Here, Plaintiff’s Complaint fails to include any of the three requirements listed under

Rule 8(a). There is no statement of jurisdiction. There is no statement of the claim that

shows Plaintiff is entitled to relief, and there is no demand for the relief sought. Thus, the

Complaint is deficient on its face under Rule 8.

       Even setting aside the absence of a jurisdictional statement and demand for relief

sought, and taking all the factual allegations as true, Plaintiff’s Complaint fails to state a

cognizable claim against Defendant. While it is difficult to discern exactly what is being



                                              -2-
          Case 5:12-cv-00892-M Document 11 Filed 10/12/12 Page 3 of 6



alleged, the Complaint appears to be based solely on an increase in Plaintiff’s homeowner’s

insurance premium. Plaintiff claims that this increase in premium rate violated the Oklahoma

Insurance Code.

       The provisions of the Insurance Code cited by Plaintiff do not support this contention.

For example, Plaintiff asserts that he should have been allowed to disapprove of any rate

increase pursuant to 36 O.S. § 4808. (Complaint, pp. 1-2). Section 4808 deals with automatic

increases in coverage for the replacement of a home. It has nothing to do with an insured’s

ability to approve or disapprove of premium increases at renewal. Plaintiff does not assert

that his coverage for replacement of his home was automatically increased, only that his

premium rate went up. Indeed, the Complaint states that “the agent allowed my premium to

go up $509.00 to $1314.00 with no change in my situation, no risks to add, and no loss’s (sic)

to add for claims filed.” (Complaint, p. 1).

       The Complaint also cites Section 902 of the Oklahoma Insurance Code (see,

Complaint, p. 1), which states that “[t]he Insurance Commissioner shall not approve rates for

insurance which are excessive, inadequate, or unfairly discriminatory.” 36 O.S. § 902(A).

The Complaint goes on to mention 36 O.S. 985(A)(1)(see, Complaint, p. 2), which provides

in pertinent part that “[n]o rate in a competitive market may be determined to be excessive.”

The preceding section (36 O.S. § 984) states that “[a] competitive market is presumed to exist

for a line of insurance unless the Commissioner, after a hearing, issues an order stating that

a reasonable degree of competition does not exist in the market.” 36 O.S. § 984(A). Plaintiff



                                               -3-
           Case 5:12-cv-00892-M Document 11 Filed 10/12/12 Page 4 of 6



alleges no facts to indicate that any such order was entered by the Insurance Commissioner

in regard to the relevant market here. Therefore, the market in question is presumed to be

“competitive” for purposes of Section 985, and no rate may be determined to be excessive

in such a market.

       Plaintiff also mentions 36 O.S. § 908, which sets forth the penalties that the Insurance

Commissioner may impose upon a finding that any person or organization has violated

provisions of any statute over which the Commissioner has jurisdiction. It is unclear how this

statute is relevant to any claim Plaintiff attempts to make in this case.

       Next, Plaintiff claims that Defendant “did not write me (a policy) according to 4803

of Title 36...” (Complaint, p. 2). Section 4803 is entitled “Standard Policy Provisions -

Permissible Variations” and sets forth the acceptable form for property insurance policies.

Plaintiff fails to allege any facts that suggest his policy with HOAIC did not comport with

Section 4803.

       Also, Plaintiff asserts that Defendant violated 15 O.S. §§ 57, 58, and 59. (Complaint,

p. 3). These provisions deal with actual and constructive fraud. Again, it is not clear from

the language of the Complaint exactly how Plaintiff claims to have been defrauded.

Assuming Plaintiff is attempting to state a claim for fraud, it clearly fails under Fed. R. Civ.

Pro. 9(b), which requires a party to plead allegations of fraud with particularity.

       Next, Plaintiff mentions 36 O.S. § 954, and claims that this statute “covers

overpayments and refunds on increases un-approved by the insured.” This is wholly



                                              -4-
               Case 5:12-cv-00892-M Document 11 Filed 10/12/12 Page 5 of 6



inaccurate. Section 954 is entitled “Determination that Credit Information Incorrect,” and

it deals with situations in which an insured was overcharged based upon incorrect or

incomplete credit rating information is used in the underwriting process. 36 O.S. § 954. No

such factual allegations are set forth in the Complaint.

        Finally, throughout the Complaint, Plaintiff alludes to filings he made with the

Oklahoma Insurance Commissioner and the Oklahoma Supreme Court. The Complaint

implies that Defendant’s alleged agent did not respond to such filings and/or appeals

properly. These facts, taken as true, do not establish a cause of action against Defendant.

        In sum, the Complaint is fatally deficient under Rule 8, and Plaintiff has failed to

frame it with sufficient factual matter to give rise to a plausible right to relief. Therefore,

Plaintiff’s Complaint should be dismissed.

                                      CONCLUSION

        WHEREFORE, based on the above arguments and authorities, Defendant

Homeowners of America Insurance Company respectfully requests that enter an order

dismissing Plaintiff’s Complaint, and that Defendant be awarded all other relief to which it

is entitled.




                                              -5-
           Case 5:12-cv-00892-M Document 11 Filed 10/12/12 Page 6 of 6



                                            s/Andrew M. Bowman
                                            Michael T. Maloan, OBA No. 15097
                                            michaelmaloan@oklahomacounsel.com
                                            Andrew M. Bowman, OBA No. 22071
                                            andrewbowman@oklahomacounsel.com
                                            FOLIART, HUFF, OTTAWAY & BOTTOM
                                            201 Robert S. Kerr Avenue, 12 th Floor
                                            Oklahoma City, OK 73102
                                            Telephone: 405-232-4633
                                            Facsimile: 405-232-3462

                                            ATTORNEYS FOR DEFENDANT,
                                            HOMEOWNERS OF AMERICA
                                            INSURANCE COMPANY


                              CERTIFICATE OF MAILING

       I hereby certify that on this 12th day of October, 2012, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. I also certify that
the above instrument was served via certified mail on the following:

Walter T. Lacey, Jr.
P.O. Box 944
Oklahoma City, OK 73101
Telephone: 405-420-4651
      Plaintiff, Pro Se


                                            s/Andrew M. Bowman




                                              -6-
